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 DXC Technology Company (DXC)                        Meitav DS Provident Funds and Pension Ltd
                                                                         ("Meitav DS Provident")
                                 List of Purchases and Sales

                        Purchase                Number of                    Price Per
       Date              or Sale                Shares/Unit                 Share/Unit

         10/30/2018             Purchase                      49,900                  $70.3158
